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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Woodlow                                  :             CIVIL ACTION
                                         :
                                         :
             v.                          :
                                         :
                                         :
NCB Management Services, Inc.            :             NO.: 23-cv-1821
                                         :

                                       ORDER

             AND NOW, this 25th day of MAY 2023, in accordance with Local

Civil Rule 40.1(c) (2), it is hereby

             ORDERED that the above-captioned case is reassigned from the

calendar of the Honorable Timothy J. Savage to the calendar of the Honorable

Kai N. Scott, as related to Lindquist v. NCB Management Services, Inc, Civil

No. 23-1236.



                                             FOR THE COURT:



                                             JUAN R. SÁNCHEZ
                                             Chief Judge


                                             ATTEST:


                                             _/s/George Wylesol____________
                                             GEORGE WYLESOL
                                             Clerk of Court
